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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Brian Swontek,                                     No. CV-16-03602-PHX-DJH
10                  Plaintiff,                          ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
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15          This matter is before the Court on Plaintiff’s Status Report as to Defendant
16   Continental Central Credit, Inc. Settlement (Doc.143), wherein Plaintiff requests additional
17   time to finalize settlement.
18          Accordingly,
19          IT IS ORDERED extending the deadline for the parties' Stipulation to Dismiss to
20   April 19, 2019. If a Stipulation to Dismiss has not been filed by April 19, 2019, the parties
21   shall file on that date a Status Report stating good cause.
22          Dated this 5th day of March, 2019.
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                                                   Honorable Diane J. Humetewa
26                                                 United States District Judge
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